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                        HEAD KANDY LLC vs KAYLA MCNEILL
                              Kaylin Culp on 08/26/2024

    ·1· · · · · · · ·UNITED STATES DISTRICT COURT
    · · · · · · · · · SOUTHERN DISTRICT OF FLORIDA
    ·2· · · · · · · · · · · FT. LAUDERDALE

    ·3
    · · · ·HEAD KANDY LLC,
    ·4
    · · · · · · · · ·Plaintiff,· · · · · CASE NO.
    ·5· · · · · · · · · · · · · · · · · ·0:23-cv-60345-JB
    · · · ·vs.
    ·6
    · · · ·KAYLA MCNEILL,
    ·7
    · · · · · · · · ·Defendant.
    ·8
    · · · ·~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
    ·9

    10· · · · · · · · · CONTINUED DEPOSITION OF

    11· · · · · · · · · · · · KAYLIN CULP

    12

    13· · · · · · · · · Monday, August 26, 2024

    14· · · · · · · · · · · · 11:04 A.M.

    15· · · · · · · · · · · Videoconference

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    24· ·Reported By Rocco Franco, Commission No. 202403900042

    25· · · · · · · · · · · ·Job No. 86327


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    ·1· · · · · · · · · ·APPEARANCES OF COUNSEL

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    15· ·Also present:

    16· · · ·Sammy Abdellatif, Videographer

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                              Kaylin Culp on 08/26/2024
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    ·1· ·she couldn't really say much about it.· And I would
    ·2· ·just tell her I was praying for her, and that I loved
    ·3· ·her, and we're going to make it through, so --
    ·4· · · · Q.· ·And when you and Ms. McNeill communicate, is
    ·5· ·it mostly on the phone, text, or something else?
    ·6· · · · A.· ·It's usually phone calls.
    ·7· · · · Q.· ·Okay.· Have you kept in contact with anybody
    ·8· ·else that you worked with at Head Kandy?
    ·9· · · · A.· ·As people were leaving Head Kandy, they would
    10· ·try to reach out to me and let me know that they were
    11· ·terminated or things like that, but I never really kept
    12· ·conversations with them.· Amber and I, Amber Teaster
    13· ·and I, after we flew to Florida together, we do check
    14· ·in on each other.
    15· · · · Q.· ·Okay.· Do you and Amber work together?
    16· · · · A.· ·Yes.
    17· · · · Q.· ·Okay.· And so Amber works for White
    18· ·Pineapple?
    19· · · · A.· ·Yes.
    20· · · · Q.· ·And when did Amber start working for White
    21· ·Pineapple?
    22· · · · A.· ·As far as I know, the same time I did.
    23· · · · Q.· ·So that would have been the beginning of
    24· ·August 2024?
    25· · · · A.· ·Yes.

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